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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Daniel Chertok
                                         Plaintiff,
v.                                                        Case No.: 1:18−cv−06407
                                                          Honorable John J. Tharp Jr.
G.M. Goldman & Associates, Inc.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 18, 2018:


         MINUTE entry before the Honorable John J. Tharp, Jr:Upon review of the parties'
joint stipulation of dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A), any scheduled
hearings in this case are stricken and any pending motions are denied as moot. Civil case
terminated. Mailed notice(air, )




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